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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF VIRGINIA
                             Alexandria Division

UNITED STATES OF AMERICA                             :
                                                     :
   v                                                 :
                                                     : Case No: 1:16MJ406
                                                     :
ANDREW BOGGS                                         :
                                                     :

                                        ORDER

       Upon consideration of the Consent Motion for Limited Amendment of Mr. Boggs’

Conditions of Pre-Trial Release, and for good cause shown, it is hereby

       ORDERED that said motion is GRANTED; and

       FURTHER ORDERED that Mr. Boggs may use his computer and the internet to

communicate with defense counsel via email and for school; and it is

       FURTHER ORDERED that all communications between Mr. Boggs and his defense

counsel shall be exempt from review and/or monitoring by Pre-Trial Services; and it is

       FURTHER ORDERED that the condition that “Defendant may not have/possess

any computer(s) In his residence” is removed.

       ENTERED this of _____ November, 2016.



                                                _______________________________
                                                United States Magistrate Judge
